Gmail - FOIA Request from Matthew Chapman - Email Metadata    https://mail.google.com/mail/u/0/?ui=2&ik=43808bb63e&jsver=nz...
                     Case: 1:18-cv-04269 Document #: 1-3 Filed:  06/20/18 Page 1 of 1 PageID #:12



                                                                        Daniel Edward Massoglia <dmassoglia@gmail.com>



         FOIA Request from Matthew Chapman - Email Metadata
         Daniel Massoglia <dmassoglia@gmail.com>                                                 Wed, Nov 29, 2017 at 11:59 AM
         To: FN-OMB-FOIA <OMBFOIA@omb.eop.gov>

           Hi Dionne,

           Thank you for your response.

           My client narrows his request in breadth as follows: for the same search terms, he reduces its scope from the
           entirety of January 2017 to metadata for the dates January 19-24 and January 30.

           Please provide an accounting of the quantity of records and estimated time required to review these records. As
           this request seeks metadata, not including subject lines, and not content of OMB communications, it should not
           raise privilege, exemption, and other related concerns you have identified.

           It is likely that this search will return a large number of records, but in such a format that they may be easily
           reviewed and produced. I want finally to reiterate my client's offer to provide technical expertise (he is a senior
           data engineer in the private sector) if managing and reviewing a large volume of non-exempt data raises issues
           and your team would like to trade ideas on a production.

           Thank you,
           Daniel Massoglia


           [Quoted text hidden]
           --
           Daniel Massoglia
           Attorney at Law




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